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JUDITH A. PHILIPS
                                                                 UNITED STATES DISTRICT COURT



                                 SEALED
                                                                       DISTRICT OF HAWAII
                                                                        Mar 24, 2021
Acting United States Attorney                                     Michelle Rynne, Clerk of Court

District of Hawaii               BY ORDER OF THE COURT

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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA, )         MAG. NO. 21-0363-RT
                          )
         Plaintiff,       )         CRIMINAL COMPLAINT;
                          )         AFFIDAVIT IN SUPPORT OF
    vs.                   )         CRIMINAL COMPLAINT
                          )
VICTOR AGUILAR,           )
                          )
         Defendant.       )
                          )


                         CRIMINAL COMPLAINT
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      I, the undersigned complainant, being duly sworn, state that the following is

true and correct to the best of my knowledge and belief.

                                    Count 1
                           Sexual Exploitation of Child
                              (18 U.S.C. § 2251(a))

      On or about June 16, 2020, within the District of Hawaii, VICTOR

AGUILAR, the defendant, did use, persuade, induce, entice, and coerce a minor to

engage in sexually explicit conduct for the purpose of producing a visual depiction

of such conduct, namely, the video file 20200616_101015.mp4, which was

produced using materials that had been mailed, shipped, and transported in

interstate commerce.

      All in violation of Title 18, United States Code, Section 2251(a).



                                    Count 2
                           Sexual Exploitation of Child
                              (18 U.S.C. § 2251(a))

      On or about May 6, 2020, within the District of Hawaii, VICTOR

AGUILAR, the defendant, did use, persuade, induce, entice, and coerce a minor to

engage in sexually explicit conduct for the purpose of producing a visual depiction

of such conduct, namely, the video file 20200506_182537.mp4, which was

produced using materials that had been mailed, shipped, and transported in

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interstate commerce.

      All in violation of Title 18, United States Code, Section 2251(a).

      I further state that I am a Special Agent with Homeland Security

Investigations and that this Complaint is based upon the facts set forth in the

attached affidavit, which is incorporated herein by reference.

      DATED: March 24, 2021, Honolulu, Hawaii.


                                              ______________________________
                                              LAURA DAI
                                              Special Agent, HSI


Sworn to under oath before me telephonically, and attestation acknowledged
pursuant to Federal Rule of Criminal Procedure 4.1(b)(2), on this _____
                                                                   24th day of
March 2021, in Honolulu, Hawaii.




                             Andrade
                            Rom A. Trader
                            United States Magistrate Judge




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           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I, LAURA DAI, being duly sworn, affirm and state:

                                INTRODUCTION

      1.     This affidavit is submitted in support of a criminal complaint charging

VICTOR AGUILAR, the defendant (hereinafter “AGUILAR”), with violating

Title 18, United States Code, Section 2251(a) (sexual exploitation of a child).

      2.     I am a Special Agent with Homeland Security Investigations (HSI)

and am presently assigned to the Honolulu Field Office, Cyber Group. I have

been employed as a Special Agent with HSI since 1993. I have investigated

criminal cases including internet crimes against children, drug smuggling, human

smuggling, human trafficking, fraud, illegal exports, financial fraud, and other

violations. As part of these investigations, I have participated in the execution of

numerous federal and state search warrants. I have received training in criminal

investigations involving child pornography, including training provided by the

Internet Crimes Against Children (ICAC) task force for the investigation of

individuals downloading and sharing child pornography. I have participated in

training courses for the investigation and enforcement of child pornography laws in

which computers are used as the means for receiving, transmitting, and storing

child pornography. I have participated in investigations involving child
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pornography, the creation of child pornography, and online solicitation and

enticement of minors.

      3.     The facts and information contained in this affidavit are based on my

personal involvement in this investigation, personal knowledge and observations,

my review of records and documents obtained during this investigation, and

information received from other individuals, including witnesses and other law

enforcement officers as well as my training and experience. Because this affidavit

is submitted for the limited purpose of establishing probable cause in support of a

criminal complaint, it does not set forth each and every fact known by me or to law

enforcement. Furthermore, summaries of and statements from conversations do

not include references to all topics covered in the communications.

                                 BACKGROUND

                                  The Defendant

      4.     From publicly available information, I have learned, among other

things, that AGUILAR is a 65-year-old resident of the town of Kalaheo on the

island of Kauai. AGUILAR is a Major with the United States Army and,

beginning in or around 1995, acted as an instructor for the Junior Reserve Officers’

Training Corps (JROTC) at Waimea High School on Kauai. In an interview in

2017, AGUILAR represented that over the years, the JROTC program at Waimea

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High School has included anywhere from 49 to 205 cadets, at times encompassing

as much as 20 percent of the student population. 1

        5.    More recently, however, AGUILAR resigned from his position as the

JROTC Senior Army Instructor at Waimea High School. On or about March 11,

2021, AGUILAR was arrested on a state indictment, brought by the County of

Kauai Office of the Prosecuting Attorney, charging him with having sexually

assaulted a former student.

                                 The Minor Victim

        6.    The “Minor Victim” is one of AGUILAR’s former JROTC students at

Waimea High School. As described below, there is probable cause to conclude

that on at least two occasions in 2020, at a time when the Minor Victim was under

the age of eighteen, AGUILAR sexually exploited the Minor Victim by using,

persuading, inducing, enticing, and coercing her to take part in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, in

violation of Title 18, United States Code, Section 2251(a). The evidence,

described below, indicates that AGUILAR’s sexual exploitation of the Minor

Victim occurred in his home, in his vehicle, and even at Waimea High School.



1
        David McCracken, Talk Story: Victor Aguilar, The Garden Island, Apr. 9,
2017.
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                               PROBABLE CAUSE

           The DOE’s Investigation into Workplace-Related Misconduct

      7.     AGUILAR’s misconduct was first brought to the attention of

authorities, not by the Minor Victim, but by another of AGUILAR’s former

students. On January 29, 2021, a different former Waimea High School student

(hereinafter the “Former Student”) made contact with the State of Hawaii

Department of Education Equity Specialist for the Kauai District (hereinafter the

“DOE Equity Specialist”). From publicly available information, I know that

Equity Specialists are assigned to the Civil Rights Compliance Branch of the

Hawaii DOE; they investigate, among other things, complaints relating to sexual

harassment and discrimination.

      8.     The Former Student reached out to the DOE Equity Specialist to share

some concerns that she had regarding AGUILAR, who had been the Former

Student’s JROTC instructor while she was a student at Waimea High School.

This incident involved AGUILAR touching the Former Student’s legs in a way

that made her uncomfortable.

      9.     The Former Student also reported to the DOE Equity Specialist that,

on one occasion, when the Former Student was preparing a graduation slide show,

the Former Student was able to access pictures on AGUILAR’s laptop computer

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(hereinafter “AGUILAR’s Laptop”). While working on AGUILAR’s Laptop, the

Former Student saw a folder that had several subfolders inside of it. Each

subfolder had the name of a different student. Inside each subfolder were pictures

of the individual student in whose name the subfolder was labeled, frequently

wearing bikinis or beach wear. The Former Student located one such subfolder

containing pictures of herself in a swimsuit, and she was uncomfortable with it.

The Former Student noted that the pictures appeared to be from social media and

that the pictures of her appeared to be cropped.

      10.    The Former Student further disclosed to the DOE Equity Specialist

that she knew of other former and current students who had shared with her that

AGUILAR had touched their legs, thighs, or buttocks.

      11.    On February 2, 2021, AGUILAR was notified that the DOE Equity

Specialist was conducting an investigation. Additionally, the Hawaii DOE

JROTC Command was notified of the pending investigation because they share

jurisdiction with the Hawaii DOE for JROTC instructors. JROTC Command gave

the DOE Equity Specialist permission to confiscate and examine any U.S. Military

computers issued to AGUILAR. That same day, the DOE Equity Specialist went

to the Waimea High School JROTC classroom, along with the principal, to retrieve

the computer equipment issued to AGUILAR by the Hawaii DOE and U.S.

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Military. AGUILAR was present and handed over the laptop he used in the

classroom (namely, AGUILAR’s Laptop) and a portable hard drive on which he

kept his work (hereinafter “AGUILAR’s Hard Drive”).

      12.    The DOE Equity Specialist returned to his office and began to

examine AGUILAR’s Laptop and AGUILAR’s Hard Drive to see if there were

any files or file folders similar to what the Former Student had described. The

DOE Equity Specialist’s purpose was to substantiate or disprove the allegation of

workplace-related misconduct that the Former Student had reported.

      13.    On AGUILAR’s Laptop, the DOE Equity Specialist found a file

folder named “alumni” with subfolders containing the names of various females.

Each of these subfolders contained pictures of female students, most of whom were

wearing bikinis or beachwear. A large variety of pictures and videos, mostly of

females either in swimwear, nude, or partially nude, were also found. Several

photographs looked as if they had been downloaded from the internet, and some

displayed girls who looked under the age of 18. The DOE Equity Specialist did

not at that time determine which, if any, of these girls were former or current

students of AGUILAR.

      14.    Having substantiated the allegations of workplace-related misconduct,

the DOE Equity Specialist contacted the Kauai Police Department (KPD) and the

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Kauai District School Leadership, as well as JROTC Command. AGUILAR was

placed on leave and later resigned from the Waimea High School’s faculty.

                        The KPD’s Criminal Investigation

      15.    Following the referral from the DOE Equity Specialist, KPD initiated

an investigation into AGUILAR for possible violations of state criminal law. On

or about February 3, 2020, KPD learned that in the wake of his resignation,

AGUILAR had exchanged text messages with a former JROTC student, the Minor

Victim. In these text messages, among other things, AGUILAR wrote to the

Minor Victim, in substance and in part, that he did not have a job because of some

“touching” that had occurred between him and former students.

      16.    A recorded forensic interview of the Minor Victim was conducted.

During the interview, the Minor Victim disclosed that AGUILAR had engaged in

sexually explicit conduct with her, and that he had used his cellphone to make

videos of certain sexually explicit acts. The Minor Victim reported that

AGUILAR engaged in these acts toward the Minor Victim at the high school, in

his vehicle, and in his home.

      17.    KPD conducted a search of the Minor Victim’s cellphone and

discovered, among other things, the text messages exchanged between the Minor

Victim and AGUILAR, in which he told her that he was under investigation.

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      18.    KPD also obtained a state search warrant to search the contents of

AGUILAR’s Laptop and AGUILAR’s Hard Drive for evidence of violations of

state law. While executing the state search warrants, KPD found, on AGUILAR’s

Hard Drive, two video clips, described in more detail below, which are consistent

with the Minor Victim’s recorded interview statements. KPD also found, on

AGUILAR’s Laptop, subfolders of approximately 61 students and/or former

students of Waimea High School’s JROTC, which appear to date from in or about

2009 until recently. These photographs appear to consist mainly of students and

former students in bikinis, which appear to be have been pulled from social media

websites. From my training and experience, and familiarity with this

investigation, I believe that these photographs on AGUILAR’s Laptop indicate that

AGUILAR was sexually attracted to several of his students and/or former students.

This evidence generally tends to confirm that AGUILAR is the person who created

the video clips of the Minor Victim, and that he used the Minor Victim to create

these video clips for purposes of his own sexual gratification.

                             The Federal Investigation

      19.    After KPD identified the video clips described above, HSI sought a

federal search warrant to search AGUILAR’s Laptop and AGUILAR’s Hard Drive



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for evidence of violations of, among other things, Title 18, United States Code,

Section 2251.

      20.    From my review of AGUILAR’s Hard Drive and AGUILAR’s

Laptop, and from related investigative steps I have taken, I have learned, in

substance and in part, the following, all of which forms the basis of Count 1:

             a.    Recovered from both AGUILAR’s Hard Drive and

AGUILAR’s Laptop was a file named “20200616_101015.mp4” (hereinafter

“Video Clip 1”). Video Clip 1 is approximately 2 minutes and 53 seconds in

length, depicting a female.

             b.    For most of Video Clip 1, the camera is zoomed in on a

female’s genitals, as a man’s hand touches her labia and clitoris. Detective Chad

Cataluna of KPD, who is also a Task Force Officer with HSI, has identified the

male voice as belonging to AGUILAR. Detective Cataluna spoke with

AGUILAR on or about February 18, 2021, and, as a consequence, is familiar with

his voice.

             c.    The female in Video Clip 1 also makes audible statements.

Based on my review of the Minor Victim’s interview with law enforcement, in

which her voice can be heard, I believe the female voice in the video is the Minor

Victim.

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             d.     At one brief point in Video Clip 1, the camera momentarily

shows a blurry female face. The appearance of this female face, and the skin tone

of the female, is consistent with the face and skin tone of the Minor Victim. I am

familiar with the appearance of the Minor Victim because, among other things, I

have reviewed a recording of her interview with law enforcement.

             e.     The audio statements in Video Clip 1 have been transcribed as

follows, with the female voice attributed to the Minor Victim and the male voice

attributed to AGUILAR. (The visual for the majority of this conversation is a

close-up of the female’s genitals.) During the course of the conversation,

AGUILAR can be heard directing the Minor Victim, with comments such as “You

got to quit moving” and “You’re not holding it steady,” as he produces the video of

her genitals. At one point, the Minor Victim asks, “Do I have to be in this

position?” AGUILAR also states, “Hopefully, my video is getting us something.

Can you feel it?”

      21.    From my review of AGUILAR’s Hard Drive and AGUILAR’s

Laptop, and from related investigative steps, I have learned, in substance and in

part, the following, all of which forms the basis of Count 2:

             a.     Recovered from both AGUILAR’s Hard Drive and

AGUILAR’s Laptop was a file named “20200506_182537.mp4” (hereinafter

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“Video Clip 2”). This file is a video clip with an approximate length of 16

seconds. In Video Clip 2, a minor female—who I recognize as the Minor

Victim—is standing naked with her breasts and pubic area facing the camera.

             b.     As the Minor Victim stands in front of the camera, a man’s

voice can be heard directing her to do specific things. At one point, the man’s

voice says, in substance and in part, “alright I’ve gotta stop the flash. I got a smile

out. Okay, let’s see your coyness, there you go. Alright I’ll let you go. Hey . . .

.” Detective Cataluna reviewed and listened to the male voice in Video Clip 2 and

identified the male voice as belonging to AGUILAR. The Minor Victim stands

naked, generally complying with his directions, until the clip ends.

      22.    I have spoken with KPD Forensic Specialist Christian Vlautin

regarding the metadata of Video Clip 1 and Video Clip 2, from which I have

learned, in substance and in part, the following:

             a.     Forensic Specialist Vlautin confirmed that Video Clip 1 and

Video Clip 2 were recovered from both AGUILAR’s Hard Drive and AGUILAR’s

Laptop. Although the metadata for these video clips do not indicate what device

was used to initially create them, still images (that is, photographs) taken during

the same timeframe and in the apparent same location (a bedroom) are listed as

having been taken using a Samsung Model SM-G970U (hereinafter “Samsung

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Galaxy S10”). From this information, I believe there is probable cause to

conclude that AGUILAR used a Samsung Galaxy S10 to create Video Clip 1 and

Video Clip 2.

             b.    The file names of Video Clip 1, Video Clip 2, and surrounding

still images indicate that they were assigned file names using the format of

“YYYYMMDD_HHMMSS,” with “YYYY” representing the year, “MM”

representing the month, “DD” representing the day, “HH” representing the hour,

“MM” representing the minute, and “SS” representing the second. Based on these

file names, I believe there is probable cause to conclude that Video Clip 1

(20200616.101015.mp4) was created on June 16, 2020, at 10:10 a.m., and that

Video Clip 2 (20200506_182537.mp4) was created on May 6, 2020, at 6:25 p.m.

             c.    The metadata show that Video Clip 1 was created (or copied

onto) on AGUILAR’s Laptop on July 11, 2020, and that Video Clip 2 was created

(or copied onto) AGUILAR’s Laptop on June 4, 2020. The metadata further show

that these video clips were created (or copied onto) AGUILAR’s Hard Drive on

January 10 and 11, 2021.

      23.    Based on the evidence described above, I believe that AGUILAR used

a Samsung Galaxy S10 to create Video Clip 1 and Video Clip 2, and that at

different times, he uploaded the video clips onto AGUILAR’s Hard Drive and

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AGUILAR’s Laptop. Each of these actions constitutes the use of materials that

traveled across state lines prior to their use in the production of child pornography,

because from my training and experience, I know that the make and model of the

cellphone, hard drive, and laptop have not been manufactured in Hawaii.

      24.    AGUILAR’s cellphone was seized on February 18, 2021. That

cellphone is a Samsung Galaxy S10. The cellphone was subscribed to AGUILAR

in his own name and listing his home address. Although KPD obtained a state

search warrant to search this cellphone, law enforcement has not yet unlocked it.

Nonetheless, subscriber records show that the Samsung Galaxy S10 was

subscribed to AGUILAR between December 23, 2004, and February 25, 2021,

which encompasses the months of May and June 2020, the time period when

AGUILAR created Video Clip 1 and Video Clip 2.

      25.    Based on my training and experience, and familiarity with this

investigation, I believe that the depictions in the two video clips described above

qualify as “sexually explicit conduct” within the meaning of Title 18, United States

Code, Section 2256(2)(A)(v). In particular, I believe that the video clips include

“lascivious exhibition of the anus, genitals, or pubic area” of the Minor Victim.

18 U.S.C. § 2256(2)(A)(v). Among other things, in both of the video clips, “the

child is depicted in an unnatural pose”; “the child is . . . nude”; “the visual

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depiction suggests sexual coyness or a willingness to engage in sexual activity”;

and “the visual depiction is intended to designed to elicit a sexual response in the

viewer.” United States v. Hill, 459 F.3d 966, 971 (9th Cir. 2006) (quoting United

States v. Dost, 636 F. Supp. 828, 832 (S.D. Cal. 1986), aff’d sub nom. United

States v. Wiegand, 812 F.2d 1239 (9th Cir. 1987)).

      26.    The two video clips described above are not the only depictions of the

Minor Victim that were recovered from AGUILAR’s Hard Drive and AGUILAR’s

Laptop. Law enforcement has identified approximately 1,000 artifacts—both

videos and photographs—in which the Minor Victim is believed to appear.

Although not all of these videos and photographs qualify as child pornography

within the meaning of federal law, they further confirm that AGUILAR was the

person who created Video Clip 1 and Video Clip 2, on which Counts 1 and 2 are

based. For example, one file named “20200503_114358.mp4”—which I believe

was created on May 3, 2020, at approximately 11:43 a.m.—is approximately 38

seconds in length and shows both AGUILAR and the Minor Victim in a car sitting

in the front passenger seat. Both AGUILAR and the Minor Victim are clearly

visible. The Minor Victim’s breasts are exposed to the camera and AGUILAR

touches her breasts while making audible statements to her and to the camera.



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Eventually, AGUILAR puts his mouth on the Minor Victim’s nipple. AGUILAR

can be heard instructing the Minor Victim to smile for the camera.

                                    CONCLUSION

      27.     Based on the foregoing, I believe that probable cause exists to issue

a criminal complaint and arrest warrant charging AGUILAR with violating Title

18, United States Code, Section 2251(a).

DATED: March 24, 2021, at Honolulu, Hawaii.


                                                   Respectfully submitted,

                                                   _________________________
                                                   LAURA DAI
                                                   Special Agent, HSI

This Criminal Complaint and Affidavit in support thereof were presented to,
approved by, and probable to believe that the defendant above-named committed
the charged crime found to exist by the undersigned Judicial Officer on
March ______,
        24      2021, at 4:01 p.m.

Sworn to under oath before me telephonically, and attestation acknowledged
pursuant to Fed. R. Crim. P. 4.1(b)(2), on March ______,
                                                   24    2021, at Honolulu,
Hawaii.



                          Andrade
                         Rom A. Trader
                         United States Magistrate Judge



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